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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division
    UNITED STATES, et al.,                         )
                                                   )
                           Plaintiffs,             )
           v.                                      )       No. 1:23-cv-00108-LMB-JFA
                                                   )
    GOOGLE LLC,                                    )
                                                   )
                           Defendant.              )

       SUPPLEMENT TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL


           On May 17, 2024, Plaintiffs filed their Opposition to Defendant’s Motion for Summary

    Judgment, ECF No. 656, and moved this Court to seal certain exhibits attached thereto, ECF No.

    667. Plaintiffs’ Exhibit 12—excerpts of a deposition of an employee of a non-party—was filed

    publicly with redactions at that time. ECF No. 656-13. Counsel for that non-party recently

    notified Plaintiffs that it was the non-party’s intent to designate the entirety of the deposition

    transcript as highly confidential under the operative protective order, ECF No. 203. Therefore,

    pursuant to Local Rule 5(C), and for the reasons set forth in Plaintiffs’ Motion to Seal and

    associated memorandum at ECF Nos. 667-68, Plaintiffs respectfully request that the Court

    maintain Plaintiffs’ Exhibit 12 fully under seal until June 14, 2024, at which time the non-party

    will provide its bases, if any, for continued sealing in response to Plaintiffs’ Motion to Seal, ECF

    No. 667. 1 See ECF No. 728.




1
 Counsel for the United States has contacted the Clerk’s Office to request that this particular
exhibit be sealed on the docket so that the associated non-party has the opportunity to advocate for
continued sealing through a filing on or before June 14, 2024.
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  Dated: June 7, 2024

  Respectfully submitted,

  JESSICA D. ABER                       JASON S. MIYARES
  United States Attorney                Attorney General of Virginia

  /s/ Gerard Mene                       /s/ Tyler T. Henry
  GERARD MENE                           STEVEN G. POPPS
  Assistant U.S. Attorney               Deputy Attorney General
  2100 Jamieson Avenue                  TYLER T. HENRY
  Alexandria, VA 22314                  Assistant Attorney General
  Telephone: (703) 299-3777
  Facsimile: (703) 299-3983             Office of the Attorney General of Virginia
  Email: Gerard.Mene@usdoj.gov          202 North Ninth Street
                                        Richmond, VA 23219
  /s/ Aaron M. Teitelbaum               Telephone: (804) 692-0485
  AARON M. TEITELBAUM                   Facsimile: (804) 786-0122
                                        Email: thenry@oag.state.va.us
  United States Department of Justice
  Antitrust Division                    Attorneys for the Commonwealth of
  450 Fifth Street NW, Suite 7100       Virginia and local counsel for the
  Washington, DC 20530                  States of Arizona, California,
  Telephone: (202) 307-0077             Colorado, Connecticut, Illinois,
  Fax: (202) 616-8544                   Michigan, Minnesota, Nebraska, New
  Email: Aaron.Teitelbaum@usdoj.gov     Hampshire, New Jersey, New York,
                                        North Carolina, Rhode Island,
  Attorneys for the United States       Tennessee, Washington, and West
                                        Virginia




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